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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          5:20-cv-02408-SP                                              Date        September 6, 2022
 Title             Agustin Ramirez, et al. v. Martin Navarro, et al.,




 Present: The                    SHERI PYM, United States Magistrate Judge
 Honorable
                    Kimberly I. Carter                                   RS-CS-3 09/06/2022
                        Deputy Clerk                                     Court Reporter / Recorder


                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      A. Eric Bjorgum                                       Lawrence J. Zerner

 Proceedings:                 STATUS CONFERENCE

       The court and counsel conferred regarding the case. The court continues the
hearing on the pending Motion for Summary Judgment (docket no. 68) from September
23, 2022 to Tuesday, October 25, 2022 at 10:00 a.m. by Zoom. The court will review
the Civil Trial Order filed on August 17, 2022 and issue a Scheduling Order re-setting
certain dates.




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                                                               Initials of Preparer     KC



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